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                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF KENTUCKY
                                     LONDON DIVISION

IN RE

AMERICORE HOLDINGS, LLC1                                                                  CASE NO. 19-61608

DEBTORS


                                                    ORDER

        The Attorney General of the Commonwealth of Pennsylvania seeks a determination the

automatic stay does not apply, or, in the alternative, relief from the stay. [ECF No. 84.] The

Debtors objected [ECF No. 106] and an expedited hearing was held on January 17, 2020. [ECF

No. 122.] The Motion is denied.

        Ellwood City Hospital was a nonprofit, community-based hospital supported by

charitable funds. The Debtors acquired the assets of the hospital in 2017 through a state court

sanctioned sale. State law requires court approval before a transfer to protect against unlawful

diversion of charitable assets. 15 Pa. C.S. § 5547(b).

        The Debtors were not paying their obligations related to the hospital and ceased

operations in December 2019. On December 23, 2019, the Attorney General petitioned the state

court to enforce the court-approved sale by ordering the Debtors to operate the hospital

according to the terms of the sale or divest the Debtors of all legal or equitable ownership rights

in the hospital. The lawsuit is styled In re Ellwood City Hospital, A Pennsylvania NonProfit

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 The Debtors in these Chapter 11 cases are (with the last four digits of their federal tax identification numbers in
parentheses): Americore Holdings, LLC (0115); Americore Health, LLC (6554); Americore Health Enterprises,
LLC (3887); Ellwood Medical Center, LLC (1900); Ellwood Medical Center Real Estate, LLC (8799); Ellwood
Medical Center Operations, LLC (5283); Pineville Medical Center, LLC (9435); Izard County Medical Center, LLC
(3388); Success Healthcare 2, LLC (8861); St. Alexius Properties, LLC (4610); and St. Alexius Hospital
Corporation #1 (2766).

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Corporation, Court of Common Pleas, Lawrence County, Pennsylvania, Orphans’ Court

Division, Docket No. 70081 of 2017, M.D.

       The Attorney General argues the stay does not apply because it is exercising its police

and regulatory power to prevent harm to the residents of Lawrence County by ensuring they have

access to healthcare and preventing the diversion of charitable assets. 11 U.S.C. § 362(b)(4).

Section 362(b)(4) provides, in relevant part, that the stay does not apply to “a governmental

unit…to enforce such governmental unit’s organization’s police and regulatory power, including

the enforcement of a judgment other than a money judgment, obtained in an action or proceeding

by the governmental unit to enforce such governmental unit’s organization’s police or regulatory

power.” 11 U.S.C. § 362(b)(4). Section 364(b)(4) does not apply

       A government unit exercises its police and regulatory power if the action satisfies the

pecuniary purpose test or the public policy test. Chao v. Hosp. Staffing Servs., Inc., 270 F.3d

374, 386-87 (6th Cir. 2001). The pecuniary purpose test is met if the action is a matter of public

safety, instead of merely protecting a pecuniary interest in property. Id. Under the public policy

test, the question is whether the proceeding is adjudicating private rights or those that effectuate

public policy. Id.

       This is not a matter of public safety. The hospital is closed and there is no evidence that

immediate harm may befall the residents at this time. Forcing the hospital to reopen and make

payments of certain debts (e.g., payroll) would give the Attorney General and the creditors a

pecuniary advantage inconsistent with the fair distribution concepts in the Bankruptcy Code.

Further, the relief sought requires expending funds to operate the hospital or turnover of a

valuable asset of the bankruptcy estate. This relief is pecuniary in nature.


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                       The action also fails the public policy test. The request for enforcement of a contract or

                damages for its breach (by divestiture of the asset or money damages) is a request to adjudicate

                the private rights of the citizens of Lawrence County and not a matter of public policy.

                       The Attorney General also raised the risk of misuse of charitable assets. It is fair to

                protect charitable funds, but more is required than a mere fear that a debtor could misuse the

                assets. The Attorney General is encouraged to maintain vigilance and bring any issues of this

                nature to the attention of the Court at any time.

                       The arguments are also insufficient to constitute cause to grant relief from the automatic

                stay at this time. Therefore, it is ORDERED that the Motion [ECF No. 84] is DENIED without

                prejudice to the movant’s right to raise the same or similar issues if the facts change or are

                further developed over time.




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___________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.


                                                                        Signed By:
                                                                        Gregory R. Schaaf
                                                                        Bankruptcy Judge
                                                                        Dated: Friday, January 24, 2020
                                                                        (grs)
